Case 2:99-CV-03061-BBD-STA Document 209 Filed 06/03/05 Page 1 of 3 Page|D 265

IN THE UNITED sTATEs DIsTRICT coURT mfg civ w w m;_
FoR THE WESTERN DISTRICT oF TENNESSEE t ' ""“"""

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:"“ ..E. 1313 . CT.

AMERICAN NATIoNAL MoRTGAGE, INC., § §%né.? am ME§I.,`WS
Plaintiff, )
)

v. ) No. 99-3061-1)

)
WILLIAM N. GRIFFIN, et ai. )
)
Defendants. )

 

ORDER TO SHOW CAUSE

 

On Mareh 28, 2005, Defendant Security Title Company filed a motion for summary
judgment On April 28, 2005, Defendants William N. Griffin and Griffin, Clift, Everton &
Thorton jointly filed a motion for summary judgment Plaintiff American National Mortgage,
lnc. to date has not responded to either motion. Accordingly, Plaintiff is hereby ordered to file a
Written response on or before June 21, 2005 . Thereafter, Plaintiff Will be deemed to have Waived

his right to respond and the motion will be decided on the existing record.

rr Is so 0RDERE1) this 534 day OfJune, 2005.

 

 

NITE]) STATES DISTRICT JUDGE

T'nis document entered on the docket sheet_'ln compliance

with F\u‘.e 58 and/or 79{a) FF\CP on

209

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 209 in
case 2:99-CV-03061 Was distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listed.

E§sEE

 

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Honorable Bernice Donald
US DISTRICT COURT

